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                        UNITED STATES DISTRICT COURT
                 SOUTHERN DISTRICT OF TEXAS, HOUSTON DIVISION


TIMOTHY KLICK, Individually and on              §
Behalf of All Others Similarly Situated,        §
                                                §
               Plaintiff,                       §
                                                §    Civil Action No. 4:19-cv-1583
v.                                              §
                                                §
CENIKOR FOUNDATION,                             §
          Defendant.                            §




MALIK ALEEM, Individually and on                §
Behalf of All Others Similarly Situated,        §
                                                §
               Plaintiff,                       §
                                                §    Civil Action No. 4:19-cv-03032
v.                                              §
                                                §
CENIKOR FOUNDATION,                             §
                                                §
               Defendants.                      §



     ALEEM PLAINTIFFS’ OPPOSITION TO MOTION FOR RECONSIDERATION

       The undersigned counsel, who represent the Plaintiffs in the pending action of Aleem et

al. v. Cenikor Foundation, no. 4:19-cv-03032 (S.D. Tex.) hereby file this opposition to the

Motion for Reconsideration filed by Cenikor Foundation (“Cenikor.”). Although Cenikor filed

its motion as “unopposed,” their counsel never contacted the undersigned prior to filing the

motion for reconsideration.

       To be clear, the Aleem plaintiffs did not oppose the initial motion for consolidation of the

various Cenikor cases. But that motion was denied. The Aleem plaintiffs do oppose this new


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motion for reconsideration. Why? Because the Aleem lawsuit was filed on May 1, 2019. Since

that time, it has been stuck in a procedural morass, caused in large part by Cenikor’s repeated

non-substantive motions: motions to transfer, motions for extension of time, and now motion for

reconsideration. The same is true for the other cases which are part of this motion. Cenikor’s

litigation playbook appears to have one page in it: “delay.” It is time to turn to a new page and

move forward with the substantive issues in this case.

          “For reasons of judicial economy and finality, . . . motions for reconsideration are

disfavored and are rarely granted.”1 “It is well settled that motions for reconsideration should not

be used . . . to re-urge matters that have already been advanced by a party.”2 Cenikor does not

address any new arguments in its motion. It does not point to recently discovered facts which

would change the analysis, and it does not cite to any newly changed law that might change the

conclusion. Instead, it simply argues that the Court was wrong. But it is undisputed that district

courts have wide discretion in granting or denying motions to consolidate seemingly related

cases.     This Court has exercised its discretion to deny that requested relief.                    Cenikor’s

displeasure with that decision is not enough, standing alone, to justify a motion for

reconsideration.

          WHEREFORE, the Aleem plaintiffs request that the Motion for Reconsideration be

denied so that the parties can proceed with prosecuting the substance of their claims.

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  Oliver v. CitiMortgage, Inc., 2014 U.S. Dist. LEXIS 40772, *3 (N. D. Tex March 27, 2014) (quoting Resolution
Trust Corp. v. Aetna Casualty & Surety Co., 873 F. Supp. 1386, 1393 (D. Ariz. 1994)).
2
  Helena Laboratories Corp. v. Alpha Scientific Corp., 483 F. Supp. 2d 538, 539 (E.D. Tex. 2007) (citing Browning
v. Navarro, 894 F.2d 99, 100 (5th Cir.1990)).

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Dated: January 13, 2020                     Respectfully Submitted,

                                            THE CHOPIN LAW FIRM LLC

                                                   /s Adam Sanderson
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                                            ATTORNEYS FOR PLAINTIFFS

                               CERTIFICATE OF SERVICE

        I hereby certify that on January 13, 2020, I electronically filed the foregoing with the
Clerk of Court by using the CM/ECF system which will send a notice of electronic filing to all
CM/ECF participants. I further certify that I mailed the foregoing document and the notice of
electronic filing by first-class mail to the following non-CM/ECF participants: None.

                                                   /s Adam Sanderson




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